                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                               CRIMINAL NO. 5:06CR35-8-V

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                         ORDER
                                    )
LOUIS PATRICK WARD,                 )
                  Defendant.        )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s “Motion For Revocation Of Magistrate

Judge’s Order Detaining Defendant,” pursuant to 18 U.S.C. §3145(b), filed July 24, 2006.

(Doc.#47)    Defendant’s detention hearing was held on July 24, 2006, before United States

Magistrate Judge David Keesler. At the conclusion of that hearing, Defendant was ordered

detained.

       This Court reviews de novo the magistrate judge's detention order. 18 U.S.C. §3145(b);

United States v. Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has reviewed the audio

recording of the detention hearing before Magistrate Judge Keesler as well as the contents of the

criminal file in this matter. In addition, the Court has reviewed the Pretrial Services Report, which

recommends detention.

       The Bill of Indictment, returned June 28, 2006, charges Defendant with conspiring to

manufacture and possess with intent to distribute methamphetamine, a Schedule II controlled

substance, in violation of 21 U.S.C. §846, as well as two substantive possession offenses in

violation of 21 U.S.C. §§841(a)(1) and (b)(1)(A), and aiding and abetting the same in violation of

18 U.S.C. §2. (See Bill of Indictment, Counts 1, 4 and 12) The Indictment further alleges that the

conspiracy offense involved at least five hundred (500) grams of a mixture and substance

containing a detectable amount of methamphetamine. Because the Grand Jury found that

probable cause exists that Defendant committed an offense for which a maximum term of

imprisonment of ten (10) years or more is prescribed, a rebuttable presumption arises that no

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condition or combination of conditions will reasonably assure the appearance of the person as

required and the safety of the community.1 18 U.S.C. §3142(e).

        In determining whether there are conditions of release that will reasonably assure the

appearance of the Defendant and the safety of other persons and the community, the Court

considers all evidence regarding:

        (1)      the nature and circumstances of the offense charged (including whether the offense
                 if a crime of violence or involves a narcotic drug);
        (2)      the weight of the evidence against the person;
        (3)      the history and characteristics of the person, including —
                          (A) the person’s character, physical and mental condition, family ties,
                          employment, financial resources, length of residence in the community,
                          community ties, past conduct, history relating to drug or alcohol abuse,
                          criminal history, and record concerning appearances at court proceedings;
                          and
                          (B) whether, at the time of the current offense or arrest, the person was on
                          probation, on parole, or on other release pending trial, sentencing, appeal,
                          or completion of sentence for an offense under Federal, State, or local law;
                          and
        (4)      the nature and seriousness of the danger to any person or the community that
                 would be posed by the person's release. . .

18 U.S.C. §3142(g).

        Upon review of these factors, the Court concurs with the Magistrate Judge’s finding that

bond is not appropriate at this time. The nature and circumstances of the offenses charged

generally favor detention in that the manufacturing and distribution of methamphetamine are

serious offenses.

        The weight of the evidence against Defendant is a neutral factor. The Government did not

proffer any evidence or even articulate its theory of the case with respect to Defendant’s alleged

role in the charged conspiracy. This omission is significant given the fact that Defendant is named

in two substantive drug offenses and, presumably, an undercover officer or confidential informant

would have been present to provide specific, detailed information about Defendant’s actions. As


        1
            Defendant stated in his m otion that he was unable to verify that the charged offenses triggered
the presum ption under §3142(e) given that the Bill of Indictm ent was under seal. However, the Bill of
Indictm ent was ordered unsealed on July 28, 2006. (Doc.#52)

                                                      2

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the Magistrate Judge noted, the Government’s presentation during the detention hearing was “a

little thin.”

         An analysis of the history and characteristics of the Defendant tends to favor detention. As

noted in the Pretrial Services Report, there is a question of fact regarding the extent, if any, of

Defendant’s purported substance abuse problem. According to Narcotics Agent Eric Smith,

Caldwell County Sheriff’s Department, Defendant’s drug history is “severe.”2 In addition to the

information gathered by Pretrial Services, the Court agrees with the Magistrate Judge that the

discovery of two (2) methamphetamine pipes in Defendant’s residence, one of which was located

in Defendant’s bedroom and described by the arresting officer as “heavily residued”, is an indicator

that Defendant likely has a substance abuse problem. The Court also notes that methamphetamine

is highly addictive.

         The history and characteristics factors asserted by the Defendant do not outweigh the

Court’s concern. Defendant grew up in the Western District of North Carolina and currently lives

in Lincolnton, North Carolina.          For approximately eleven (11) years, Defendant has lived with

Nancy Walker. Defendant has been at his current residence for only nine (9) months. Defendant

also has family in the area. Defendant’s mother currently resides in Cherokee, North Carolina,

while his seven (7) siblings continue to reside primarily in or around Catawba County, North

Carolina.        At least one family member was present at the July 24, 2006 hearing in support of

Defendant’s release.           Defendant has been unemployed for at least two (2) years. Defendant

receives disability benefits as a result of blindness in his left eye and various other medical issues.

Defendant’s prior criminal record consists of misdemeanor offenses that are remote in time.




         2
                To the extent defense counsel challenges the Court’s reliance on the sources cited by the
Pretrial Officer, counsel well knows that in reaching its decision regarding eligibility for bond, the Court
m ust rely on inform ation gathered from Defendant’s fam ily and friends, as well as any inform ation local
law enforcem ent officers m ay have gleaned from their initial interviews of co-defendants and others in the
com m unity. Often tim es, it’s the only inform ation available.

                                                         3

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        Not unlike most of the cases in this district, there is no concrete evidence indicating that

Defendant is a flight risk. As defense counsel points out, Defendant lacks the financial resources

to flee the area. Similarly, there is no evidence that Defendant has ever failed to appear for prior

court proceedings. The Government contends, however, that Defendant’s recent move to Lincoln

County was an attempt to avoid the instant charges and hide from law enforcement.3 Regardless

of Defendant’s motive for relocating, law enforcement experienced relative difficulty locating

Defendant given the number of times Defendant has changed residences in recent years.4 Given

the overall lack of stability, detention is preferred.

        Finally, the Court must examine the danger to any person or the community that would be

posed by the Defendant's release. Based on the discovery of a .32 caliber handgun in Defendant’s

residence at the time of his arrest, the Court cannot affirmatively find that Defendant poses no

danger to the community. Further, the Court agrees with the Magistrate Judge that immediate

inpatient drug treatment is ideal. Defendant’s eligibility for bond may be reviewed by the Magistrate

Judge upon completion.

        Taking all of the factors into consideration, the Court finds that no condition or combination

of conditions of bond will reasonably assure the appearance of the Defendant and the safety of

other persons and the community.

        IT IS, THEREFORE, ORDERED that the Defendant’s motion to revoke the detention order

entered by the Magistrate Judge is hereby DENIED.




        3
            According to Agent Sm ith, when located by law enforcem ent, Ms. W alker asked how the
officers found them . The Court also finds Defendant’s decision to secure a post office box in Hudson,
North Carolina (as opposed to Lincolnton) suspect.

        4
            Defendant has reportedly had as m any as five (5) different residences in the last two (2) years.



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          IT IS FURTHER ORDERED that the Clerk shall certify copies of this Order to Defense

Counsel, the United States Attorney, the United States Marshal, and the United States Probation

Office.




                                               Signed: August 1, 2006




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